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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ x
 In re:                                                       :   Chapter 11
                                                              :
 MOTORS LIQUIDATION COMPANY, et al.,                          :   Case No.: 09-50026 (MG)
          f/k/a General Motors Corp., et. al.                 :
                                                              :   (Jointly Administered)
                   Debtors.                                   :
                                                              :
 ------------------------------------------------------------ x

              DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD
             ON APPEAL AND A STATEMENT OF ISSUES TO BE PRESENTED

         Pursuant to Rule 8009(a) of the Federal Rules of Bankruptcy Procedure, the plaintiff in

 Gillispie v. General Motors LLC, et. al., pending in the United States District Court for the

 Southern District of New York, Case number 1:17-cv-08538-LTS, ("Mr. Gillispie"), as

 Appellant, submits this statement of the issues to be presented on appeal, and designation of

 items to be included in the record on appeal in connection with Mr. Gillispie's Notice of Appeal

 [Docket Entry No.: 14138], filed on October 26, 2017, with respect to the Memorandum Opinion

 and Order Denying Roger Dean Gillispie's Motion for Leave to Pursue Claims Against General

 Motors LLC, and, Alternatively, to File a Post-Bar-Date Proof of Claim in the Motors Liquidation

 Company Bankruptcy, entered by the United States Bankruptcy Court for the Southern District of

 New York ("Bankruptcy Court") in the above-referenced case on October 18, 2017 ("October

 2017 Opinion") [Dkt. No. 14133].
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                          STATEMENT OF ISSUES ON APPEAL

       The issue to be present on appeal is:

       1.     Whether Mr. Gillispie had a “claim” under the Bankruptcy Code at the date of the

              2009 Sale Order even though he was wrongfully convicted and his conviction

              was not overturned until after the Sale Order had been entered?

       2.     Whether refusing to allow Gillispie to pursue his claims against New GM based

              upon the 2009 Sale Order while Gillispie was wrongfully convicted and

              imprisoned violates due process?

       3.     Whether Mr. Gillispie should be permitted a Post-Bar Date proof of claim in the

              Old GM bankruptcy because he was wrongfully convicted at the time of the bar

              date?

       4.     Whether refusing to allow Gillispie to pursue his claims against Old GM/the GUC

              Trust where the bar date happened while Gillispie was wrongfully convicted

              violates due process?



       DESIGNATION OF ITEMS TO BE INCLUDED IN RECORD ON APPEAL

    1. Motion for Leave to Pursue Claims Against General Motors LLC, and , Alternatively, to

       File a Post-Bar-Date Proof of Claim in the Motors Liquidation Company Bankruptcy

       (With Attachments Exhibits 1-5) [Docket No. 12727], filed on June 17, 2014.

    2. Objection by General Motors LLC to Motion for Leave to Pursue Claims Against

       General Motors LLC, and , Alternatively, to File a Post-Bar-Date Proof of Claim in the

       Motors Liquidation Company Bankruptcy (With Attachments Exhibits 1-2) [Docket No.

       12863], filed on August 19, 2014.
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    3. Response of Wilmington Trust Company, as Trustee for and Administrator of the Motors

       Liquidation Company General Unsecured Creditors Trust, to Roger Dean Gillispie's

       Motion for Leave to Pursue Claims Against General Motors LLC, and , Alternatively, to

       File a Post-Bar-Date Proof of Claim in the Motors Liquidation Company Bankruptcy

       (With Attachments Exhibits A-B) [Docket No. 12864], filed on August 19, 2014.

    4. Letter from the Unitholders [Docket No. 12875], filed August 17, 2014.

    5. Notice of Presentment of Order Authorizing General Motors LLC to File a Reply to the

       Response by Wilmington Trust Company to the Gillispie Motion for Leave to Pursue

       Claims Against General Motors LLC, and , Alternatively, to File a Post-Bar-Date Proof

       of Claim in the Motors Liquidation Company Bankruptcy (With Attachments) [Docket

       No. 12884], filed on September 9, 2014.

    6. Wilmington Trust Company's Objection to General Motors' Presentment of Order to File

       a Reply to the Response by Wilmington Trust Company to the Gillispie Motion (With

       Attachments) [Docket No. 12887], filed on September 10, 2014.

    7. Mr. Gillispie's Objection to General Motors' Presentment of Order to File a Reply to the

       Response by Wilmington Trust Company to the Gillispie Motion (With Attachments)

       [Docket No. 12888], filed on September 10, 2014.

    8. Endorsed Order [Docket No. 12889], filed on September 10, 2014.

    9. Reply by General Motors LLC to Response by Wilmington Trust Company to the

       Gillispie Motion for Leave to Pursue Claims Against General Motors LLC, and ,

       Alternatively, to File a Post-Bar-Date Proof of Claim in the Motors Liquidation Company

       Bankruptcy [Docket No. 12998], filed on September 12, 2014.
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    10. Wilmington Trust Company's Response to General Motors LLC's "Reply" in Connection

       with Roger Dean Gillispie's Motion for Leave to Pursue Claims Against General Motors

       LLC, and , Alternatively, to File a Post-Bar-Date Proof of Claim in the Motors

       Liquidation Company Bankruptcy [Docket No. 12930], filed on September 29, 2014.

    11. Omnibus Reply by Roger Dean Gillispie to the Briefs Concerning Roger Dean Gillispie's

       Motion to Pursue Claims Against General Motors LLC, and , Alternatively, to File a

       Post-Bar-Date Proof of Claim in the Motors Liquidation Company Bankruptcy (With

       Attachment) [Docket No. 12998], filed on November 12, 2014.

    12. Order Requesting Status Letters [Docket No. 14028], filed on August 7, 2017.

    13. Wilmington Trust Company Status Letter [Docket No. 14049], filed on August 14, 2017.

    14. General Motors LLC's Status Letter [Docket No. 14050], filed on August 14, 2017.

    15. Mr. Gillispie's Status Letter [Docket No. 14052], filed on August 14, 2017.

    16. Memorandum Opinion and Order Denying Roger Dean Gillispie's Motion for Leave to

       Pursue Claims Against General Motors LLC, and, Alternatively, to File a Post-Bar-Date

       Proof of Claim in the Motors Liquidation Company Bankruptcy [Docket No. 14133],

       filed on October 18, 2017.

    17. Notice of Appeal and Statement of Election [Docket No. 14138], filed on October 26,

       2017.



 Dated: November 20, 2017




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                                                  David B. Owens
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